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     Assistant U.S. Attorney
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4    Telephone: (916) 554-2918
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )
                                        )    CR. S-08-0197 GEB
12               Plaintiff,             )
                                        )   STIPULATION AND [PROPOSED]
13                                      )   ORDER CONTINUING STATUS
            v.                          )   CONFERENCE
14                                      )
     MICHAEL CRAIG DENNIS,              )
15                                      )
                 Defendant.             )
16                                      )
17
18          IT IS HEREBY STIPULATED by and between Plaintiff United
19   States of America and Attorney Hugh Anthony Levine, Counsel for
20   Defendant Michael Dennis, that the status conference scheduled
21   for January 14, 2011, be continued to February 18, 2011, at 9:00
22   a.m.
23          The request to continue the status conference is made for
24   the following reasons: (1) the parties believe settlement of the
25   case is likely to occur on February 18; (2) the additional time
26   is needed to complete investigation into matters related to
27   potential settlement; and (3) the time is needed for both parties
28   to finalize the terms of a plea agreement.          For these reasons

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1    both parties are requesting additional time for attorney
2    preparation.   The government and defendant agree that an
3    exclusion of time is appropriate under 18 U.S.C.
4    § 3161(h)(7)(B)(iv); Local Code T4 (reasonable time to prepare).
5    This exclusion of time includes the period from January 14, 2011,
6    up to and including February 18, 2011.
7         Hugh Anthony Levine agrees to this request and has
8    authorized Assistant United States Attorney Todd D. Leras to sign
9    this stipulation on his behalf.
10
11   DATED: January 12, 2011            By: /s/ Todd D. Leras
                                            TODD D. LERAS
12                                          Assistant U.S. Attorney
13
14   DATED: January 12, 2011            By: /s/ Todd D. Leras for
                                            HUGH ANTHONY LEVINE
15                                          Attorney for Defendant
                                            MICHAEL DENNIS
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1         IT IS HEREBY ORDERED:
2         1.     The status conference set for January 14, 2011, is
3    continued to February 18, 2011, at 9:00 a.m.
4         2.     Based on the stipulations and representations of the
5    parties, the Court finds that the ends of justice outweigh the
6    best interest of the public and defendant in a speedy trial.
7    Accordingly, time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable
9    time to prepare) from January 14, 2011 up to and including
10   February 18, 2011.
11        IT IS SO ORDERED.
12   Dated:    January 12, 2011
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14                                    GARLAND E. BURRELL, JR.
15                                    United States District Judge

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